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                         UNITED STATES DISTRICT COURT
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                      SOUTHERN DISTRICT OF CALIFORNIA
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9    IN RE:                                 Case No. 3:17-CV-00108-GPC-MDD
10   QUALCOMM LITIGATION
                                            JOINT NOTICE OF INTENT TO
11                                          REQUEST REDACTION OF NON-
12                                          PUBLIC PORTION OF
                                            TRANSCRIPT OF JURY TRIAL
13                                          (VOL. 2)
14                                          Judge:       Hon. Gonzalo P. Curiel
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1          Qualcomm Incorporated (“Qualcomm”), Apple Inc. (“Apple”) and Compal
2    Electronics, Inc., FIH Mobile Ltd., Hon Hai Precision Industry Co., Ltd., Pegatron
3    Corporation and Wistron Corporation (collectively, “the CMs” and, with Qualcomm and
4    Apple, “the Parties”), by and through their respective counsel, hereby jointly give notice
5    of the Parties’ intent to request redaction of the Transcript of Jury Trial, Volume 2. See
6    ECF 1184. The proceeding occurred on April 16, 2019, and was reported by Chari L.
7    Bowery, the official reporter. A statement of redaction will be submitted to the court
8    reporter within 21 days from the filing of the transcript with the Clerk of Court. The
9    Parties will simultaneously move the Court for an order approving redaction of the
10   Transcript of Jury Trial, Volume 2, page 227 line 7 through page 230 line 19, page 349
11   line 22 through page 350 line 14, and page 350 line 24 through page 352 line 18.
12   Dated: April 23, 2019                   Respectfully submitted,
13                                           By   /s/ Kelly V. O’Donnell
14                                                Kelly V. O’Donnell

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1                                   FILER’S ATTESTATION
2          Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
3    and Procedures of the United States District Court of the Southern District of California, I
4    certify that authorization for the filing of this document has been obtained from each of
5    the other signatories shown above and that all signatories have authorized placement of
6    their electronic signature on this document.
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8                                           By: /s/ Kelly V. O’Donnell
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1                                CERTIFICATE OF SERVICE
2          The undersigned hereby certifies that a true and correct copy of the above and
3    foregoing document has been served on April 23, 2019, to all counsel of record who are
4    deemed to have consented to electronic service via the Court’s CM/ECF system per Civil
5    Local Rule 5.4(d). Any other counsel of record will be served by electronic mail,
6    facsimile and/or overnight delivery.
7          I certify under penalty of perjury that the foregoing is true and correct. Executed
8    on April 23, 2019, at San Diego, California.
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